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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             SACR 20-169JVS

 Defendant           Adrian Kinyon Miramontes                                Social Security No. 6         3   3     7
 akas:                                                                       (Last 4 digits)




                                                                                                                    MONTH      DAY     YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.           10     25      2021

  COUNSEL                                                                 Amy Karlin, DFPD
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                               CONTENDERE               GUILTY
  FINDING             There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Possession With Intent to Distribute Methamphetamine in violation of 21 USC Section 841(a)(1), 21 USC Section
                     841(b)(1)(B)(viii) as charged in Count 1 of the Indictment and Felon in Possession of a Firearm and Ammunition in violation
                     of 18 USC Section 922(g)(1) as charged in Count 3 of the Indictment.

JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER              custody of the Bureau of Prisons to be imprisoned for a term of: 100 MONTHS This term consists of 100 months
                     on Count 1 of the Indictment and 100 months on Count 3, all to be served concurrently.


It is ordered that the defendant shall pay to the United States a special assessment of $200, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25
per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that
he is unable to pay and is not likely to become able to pay any fine.

The Court has found that the property identified in the preliminary order of forfeiture is subject to forfeiture. The
preliminary order is incorporated by reference into this judgment and is final.

The Court recommends that the defendant be considered for participation in the Bureau of Prison's Residential
Drug Abuse Program (RDAP).

The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide
all necessary treatment.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 4 years. This
term consists of 4 years on Count 1 and 3 years on Count 3 of the Indictment, all such terms to run concurrently
under the following terms and conditions:

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         1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
            Services Office and Second Amended General Order 20-04.

         2.   The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
              submit to one drug test within 15 days of release from custody and at least two periodic drug tests
              thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

         3.   The defendant shall participate in an outpatient substance abuse treatment and counseling program that
              includes urinalysis, breath or sweat patch testing, as directed by the Probation Officer. The defendant
              shall abstain from using alcohol and illicit drugs, and from abusing prescription medications during the
              period of supervision.


         4. During the course of supervision, the Probation Officer, with the agreement of the defendant and
            defense counsel, may place the defendant in a residential drug treatment program approved by the U.S.
            Probation and Pretrial Services Office for treatment of narcotic addiction or drug dependency, which
            may include counseling and testing, to determine if the defendant has reverted to the use of drugs. The
            defendant shall reside in the treatment program until discharged by the Program Director and Probation
            Officer.


         5. The defendant shall participate in mental health treatment, which may include evaluation and
            counseling, until discharged from the program by the treatment provider, with the approval of the
            Probation Officer.


         6. As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered
            treatment to the aftercare contractors during the period of community supervision. The defendant shall
            provide payment and proof of payment as directed by the Probation Officer. If the defendant has no
            ability to pay, no payment shall be required.


         7. During the period of community supervision, the defendant shall pay the special assessment in
            accordance with this judgment's orders pertaining to such payment.


         8.   The defendant shall cooperate in the collection of a DNA sample from the defendant.

         9.   The defendant shall not associate with anyone known to the defendant to be a member of the Big
              Stanton Gang and others known to the defendant to be participants in the Big Stanton Gang's criminal
              activities, with the exception of the defendant's family members. The defendant may not wear, display,
              use or possess any gang insignias, emblems, badges, buttons, caps, hats, jackets, shoes, or any other
              clothing that defendant knows evidence affiliation with the Big Stanton Gang, and may not display any
              signs or gestures that defendant knows evidence affiliation with the Big Stanton Gang.



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         10.   As directed by the Probation Officer, the defendant shall not be present in any area known to the
               defendant to be a location where members of the Big Stanton Gang meet or assemble.


         11.       The defendant shall submit the defendant's person, property, house, residence, vehicle, papers,
               cellular telephone or other areas under the defendant's control, to a search conducted by a United States
               Probation Officer or law enforcement officer. Failure to submit to a search may be grounds for
               revocation. The defendant shall warn any other occupants that the premises may be subject to searches
               pursuant to this condition. Any search pursuant to this condition will be conducted at a reasonable time
               and in a reasonable manner upon reasonable suspicion that the defendant has violated a condition of his
               supervision and that the areas to be searched contain evidence of this violation.


         The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the
         substance abuse treatment provider to facilitate the defendant's treatment for narcotic addiction or drug
         dependency. Further redisclosure of the Presentence Report by the treatment provider is prohibited without
         the consent of the sentencing judge.

         The Court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental
         health evaluations or reports, to the treatment provider. The treatment provider may provide information
         (excluding the Presentence report), to State or local social service agencies (such as the State of California,
         Department of Social Service), for the purpose of the client's rehabilitation.

         Defendant is advised of his right to appeal. The Court recommends that the defendant be housed as
         first priority in a facility that has RDAP and as second priority at Victorville.
         On the Government's motion, any remaining counts are ordered DISMISSED.

           In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation
           and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend
           the period of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue
           a warrant and revoke supervision for a violation occurring during the supervision period.




                     October 26, 2021
                     Date                                                  U. S. District Judge James V Selna

           It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified
           officer.

                                                                           Clerk, U.S. District Court



                          10/27/21                          By
                     Filed Date                                            Deputy Clerk




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           The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                       STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                        While the defendant is on probation or supervised release pursuant to this judgment:
           1.     The defendant must not commit another federal, state, or             9.    The defendant must not knowingly associate with any persons
                  local crime;                                                               engaged in criminal activity and must not knowingly associate
           2.     The defendant must report to the probation office in the                   with any person convicted of a felony unless granted
                  federal judicial district of residence within 72 hours of                  permission to do so by the probation officer. This condition
                  imposition of a sentence of probation or release from                      will not apply to intimate family members, unless the court
                  imprisonment, unless otherwise directed by the probation                   has completed an individualized review and has determined
                  officer;                                                                   that the restriction is necessary for protection of the
           3.     The defendant must report to the probation office as                       community or rehabilitation;
                  instructed by the court or probation officer;                        10.   The defendant must refrain from excessive use of alcohol and
           4.     The defendant must not knowingly leave the judicial                        must not purchase, possess, use, distribute, or administer any
                  district without first receiving the permission of the court               narcotic or other controlled substance, or any paraphernalia
                  or probation officer;                                                      related to such substances, except as prescribed by a
           5.     The defendant must answer truthfully the inquiries of the                  physician;
                  probation officer, unless legitimately asserting his or her          11.   The defendant must notify the probation officer within 72
                  Fifth Amendment right against self-incrimination as to                     hours of being arrested or questioned by a law enforcement
                  new criminal conduct;                                                      officer;
           6.     The defendant must reside at a location approved by the              12.   For felony cases, the defendant must not possess a firearm,
                  probation officer and must notify the probation officer at                 ammunition, destructive device, or any other dangerous
                  least 10 days before any anticipated change or within 72                   weapon;
                  hours of an unanticipated change in residence or persons             13.   The defendant must not act or enter into any agreement with
                  living in defendant’s residence;                                           a law enforcement agency to act as an informant or source
           7.     The defendant must permit the probation officer to                         without the permission of the court;
                  contact him or her at any time at home or elsewhere and              14.   The defendant must follow the instructions of the probation
                  must permit confiscation of any contraband prohibited by                   officer to implement the orders of the court, afford adequate
                  law or the terms of supervision and observed in plain                      deterrence from criminal conduct, protect the public from
                  view by the probation officer;                                             further crimes of the defendant; and provide the defendant
           8.     The defendant must work at a lawful occupation unless                      with needed educational or vocational training, medical care,
                  excused by the probation officer for schooling, training,                  or other correctional treatment in the most effective manner.
                  or other acceptable reasons and must notify the probation
                  officer at least ten days before any change in
                  employment or within 72 hours of an unanticipated
                  change;




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             The defendant must also comply with the following special conditions (set forth below).

             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

                     The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the
           fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1).
           Payments may be subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to
           restitution, however, are not applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and
           costs must be paid by certified check or money order made payable to “Clerk, U.S. District Court.” Each certified check or money
           order must include the case name and number. Payments must be delivered to:

                     United States District Court, Central District of California
                     Attn: Fiscal Department
                     255 East Temple Street, Room 1178
                     Los Angeles, CA 90012

           or such other address as the Court may in future direct.

                    If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must
           pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

                    The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing
           address or residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

                     The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change
           in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18
           U.S.C. § 3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or
           that of a party or the victim, adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. §
           3572(d)(3) and for probation 18 U.S.C. § 3563(a)(7).

                     Payments will be applied in the following order:

                              1. Special assessments under 18 U.S.C. § 3013;
                              2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                                States is paid):
                                        Non-federal victims (individual and corporate),
                                        Providers of compensation to non-federal victims,
                                        The United States as victim;
                              3. Fine;
                              4. Community restitution, under 18 U.S.C. § 3663(c); and
                              5. Other penalties and costs.

                 CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

                     As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing
           credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate
           financial statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the
           defendant must not apply for any loan or open any line of credit without prior approval of the Probation Officer.

                     When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to
           the Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including
           any business or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the
           Probation Office in advance of opening a new account or modifying or closing an existing one, including adding or deleting
           signatories; changing the account number or name, address, or other identifying information affiliated with the account; or any
           other modification. If the Probation Office approves the new account, modification or closing, the defendant must give the
           Probation Officer all related account records within 10 days of opening, modifying or closing the account. The defendant must not
           direct or ask anyone else to open or maintain any account on the defendant’s behalf.

                    The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
           without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                     These conditions are in addition to any other conditions imposed by this judgment.




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                                                                             RETURN

            I have executed the within Judgment and Commitment as follows:
            Defendant delivered on                                                             to
            Defendant noted on appeal on
            Defendant released on
            Mandate issued on
            Defendant’s appeal
            determined on
            Defendant delivered on                                                             to
      at
                 the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                                United States Marshal


                                                                 By
                       Date                                                     Deputy Marshal



                                                                        CERTIFICATE

            I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office,
            and in my legal custody.

                                                                                Clerk, U.S. District Court


                                                                 By
                       Filed Date                                               Deputy Clerk




                                                       FOR U.S. PROBATION OFFICE USE ONLY


           Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
           term of supervision, and/or (3) modify the conditions of supervision.

                     These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


                     (Signed)
                                Defendant                                                      Date



                                U. S. Probation Officer/Designated Witness                     Date




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